 Case 23-06782      Doc 408    Filed 01/17/24 Entered 01/18/24 08:42:23             Desc Main
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                      )               BK No.:     23-06782
IYS VENTURES, LLC,                          )
                                            )               Chapter: 11
                                            )
                                                            Honorable David D. Cleary
                                            )
                                            )
              Debtor(s)                     )

         ORDER AUTHORIZING PUSHBACK AND MUTUAL TERMINATION OF
                       IL0097, LA0057 AND LA007 ONLY

       This matter coming on to be heard on the Debtor IYS Ventures LLC's Motion To Approve
Pushback And Mutual Termination Of IL0097, LA0057 and LA0060 In The Ordinary Course, due and
proper notice have been served, and the Court having jurisdiction over the subject matter and parties
and being fully advised in the premises:

   IT IS HEREBY ORDERED THAT:

    1. The Debtor's Pushback and Mutual Termination of IL0097, LA0057 and LA0060 in the Ordinary
Course is approved and the Debtor is authorized to pushback the Marketing Premises located at 3321
West Algonquin Road, Rolling Meadows, Illinois IL0097; 1648 Pitkin Road, Leesvillle, Louisiana
LA0057; and 1764 North Parkerson Avenue, Crowley, Louisiana LA0060 to the CAP Entities pursuant
to a mutual franchise termination agreement in the form of the Mutual Franchise Termination
Agreement (PMPA) – IL0097, LA0057 and LA0060 Only attached hereto as Exhibit A.



                                                        Enter:


                                                                 Honorable David D. Cleary
Dated: January 17, 2024                                          United States Bankruptcy Judge

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